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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS



                                                                        Civil Action
                                                                        No: 13cv13276-WGY
                                      Mamady Conde

                                          Plaintiff

                                              v.

                                   Rite Aid Corporation
                                        Defendant



                     SETTLEMENT ORDER OF DISMISSAL

YOUNG, D.J.


        The Court having been advised on May 19, 2014 that the above-entitled action has been
settled:
        IT IS ORDERED that this action is hereby dismissed without cost and without
prejudice to the right of any party, upon good cause shown, to reopen the action within thirty
(30) days if settlement is not consummated.


                                                                 By the Court,

                                                                 /s/Matthew A. Paine

                                                                 Deputy Clerk




May 20, 2014


To: All Counsel
